Case 3:08-cr-03013-MWB-LTS   Document 120   Filed 03/24/09   Page 1 of 6
Case 3:08-cr-03013-MWB-LTS   Document 120   Filed 03/24/09   Page 2 of 6
Case 3:08-cr-03013-MWB-LTS   Document 120   Filed 03/24/09   Page 3 of 6
Case 3:08-cr-03013-MWB-LTS   Document 120   Filed 03/24/09   Page 4 of 6
Case 3:08-cr-03013-MWB-LTS   Document 120   Filed 03/24/09   Page 5 of 6
Case 3:08-cr-03013-MWB-LTS   Document 120   Filed 03/24/09   Page 6 of 6
